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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

TERESA BAPTISTE                              )              CIVIL ACTION
                                             )
               Plaintiff,                    )
        v.                                   )               No. 2:15-CV-03954

AQUA AMERICA, INC
                                             )
                                             )
                                                                                          fFi Lt=[J
                                             )
               Defendant,                    )                                           JAN 14 2016
                                             )

                    STIPULATION OF DISMISSAL PURSUANT TO
                 FEDERAL RULE OF CIVIL PROCEDURE 41 (A)(l)(A)(ii)

        And now this 12th day of Januaiy 2016, it is hereby stip\ilated by and between the parties
that the above-referenced matter filed by Plaintiff Teresa Baptiste against Defendant Aqua
America, Inc. is hereby voluntarily dismissed with prejudice, with each party bearing its own
attorneys' fees and costs.




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Attorney for Plaintiff                              Attorney for Defendant
Kathleen Baptiste                                   Aqua America, Inc.




                                                    IT IS SO ORDERED:
